               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION


ROBERT TERRACINO and
BRADIE TERRACINO,

      Plaintiffs,

v.                                                  CIVIL ACTION FILE NO.
                                                    5:22-CV-15-FL
TRIMACO, INC.,
2300 GATEWAY, LLC,
CHARLES COBAUGH,
and DAVID C. MAY,

      Defendants.




            MEMORANDUM OF LAW IN SUPPORT OF MOTION
             TO DISMISS FIRST AMENDED COMPLAINT AND
              MOTION FOR MORE DEFINITE STATEMENT




                                    John M. Moye
                                  NC Bar No. 35463
                           BARNES & THORNBURG LLP
                           4280 Six Forks Road, Suite 1010
                               Raleigh, NC 27609-5738
                              Telephone (919) 536-6200
                              Facsimile (919) 536-6201
                              Email JMoye@btlaw.com

                                Counsel for Defendants
                    Trimaco, Inc., Charles Cobaugh, and David May




     Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 1 of 35
                                                  TABLE OF CONTENTS

                                                                                                                                       Page

INTRODUCTION ...........................................................................................................................1

I.        STATEMENT OF FACTS ..................................................................................................2

          A.         The Relationship Between the Parties and the Agreement ......................................2

          B.         The Counts at Issue ..................................................................................................3

          C.         The ‘917 Patent ........................................................................................................4

          D.         Trimaco’s ‘607 Patent ..............................................................................................5

II.       APPLICABLE LAW ...........................................................................................................5

          A.         Motion to Dismiss Standards ...................................................................................5

          B.         Choice of Law ..........................................................................................................6

III.      OVERVIEW OF ARGUMENT ..........................................................................................7

IV.       TRIMACO’S MOTION TO DISMISS MUST BE GRANTED FOR
          COUNTS I-IX BECAUSE THE TERRACINOS FAIL TO MEET
          THE PLEADING STANDARDS FOR EACH CAUSE OF ACTION ...............................8

          A.         Counts I and II – Fraud in the Inducement against Cobaugh
                     and Trimaco .............................................................................................................8

          B.         Count III – Breach of License Agreement .............................................................12

          C.         Counts IV & V – Violations of the Federal Defend Trade Secrets
                     Act against May and Trimaco ................................................................................14

          D.         Count VI – Unfair and Deceptive Trade Practices in Violation of
                     N.C. Gen. Stat. § 75-1.1 against Trimaco ..............................................................18

          E.         Count VII – Declaratory Judgment that the Patent License
                     Agreement Is Invalid for Unconscionability in Violation of N.C.
                     Gen. Stat. § 25-2-302 .............................................................................................19

          F.         Count IX – Civil Conspiracy against All Defendants ............................................20

          G.         Count VIII – Patent Infringement under 35 U.S.C. § 271 .....................................22




                                                                      i

               Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 2 of 35
V.     TRIMACO IS ENTITLED TO A MORE DEFINITE STATEMENT
       FOR COUNT VIII BECAUSE PLAINTIFFS FAIL TO IDENTIFY
       WITH PARTICULARITY THE TRIMACO PRODUCTS ACCUSED
       OF INFRINGEMENT .......................................................................................................24

VI.    PLAINTIFFS’ CLAIMS SHOULD BE DISMISSED WITH
       PREJUDICE AND ATTORNEY FEES GRANTED ........................................................26

VII.   CONCLUSION ..................................................................................................................27




                                                                ii

          Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 3 of 35
                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

ACS Partners, LLC v. Americon Grp., Inc.,
  No. 3:09CV464-RJC-DSC, 2010 WL 883663 (W.D.N.C. Mar. 5, 2010) .................................6

Ahern v. Omnicare ESC LLC,
   No. 5:08-CV-291-FL, 2009 WL 2591320 (E.D.N.C. Aug. 19, 2009) .....................................26

Allstate Ins. Co. v. Shelby Mut. Ins. Co.,
    269 N.C. 341, 152 S.E.2d 436 (1967)......................................................................................19

Amalgamated Indus. Ltd. v. Tressa, Inc.,
  69 Fed. App’x 255 (6th Cir. 2003) ..........................................................................................17

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .............................................................................................................6, 13

Bakery & Confectionary Union & Indus. Int’l Pension Fund v. Just Born II. Inc.,
   888 F.3d 696 (4th Cir. 2018) .....................................................................................................8

BCG Masonic Cleveland, LLC v. Live Nation Ent., Inc.,
  No. 1:21-CV-00710, 2021 WL 5166483 (N.D. Ohio Nov. 5, 2021) .......................................13

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................5, 6, 13, 14

Boatright v. Aegis Def. Servs.,
   LLC, 938 F. Supp. 2d 602 (E.D. Va. 2013) .............................................................................19

Bot M8 LLC v. Sony Corp. of Am.,
   4 F.4th 1342 (Fed. Cir. 2021) ................................................................................22, 23, 24, 25

State ex rel. Cooper v. Ridgeway Brands Mfg., LLC,
    184 N.C. App. 613, 646 S.E.2d 790 (2007) .............................................................................21

Diop v. BMW of N. Am., LLC,
   511 F. Supp. 3d 679 (E.D.N.C. 2021)........................................................................................5

Elrod v. WakeMed,
   No. 5:20-CV-413-FL, 2021 WL 4312557 (E.D.N.C. Sept. 22, 2021) ..............................18, 20

ePlus Technology, Inc. v. Aboud,
   313 F.3d 166 (4th Cir. 2002) ...................................................................................................21



                                                                   iii

              Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 4 of 35
Fitzgerald Fruit Farms LLC v. Aseptia, Inc.,
    527 F. Supp. 3d 790 (E.D.N.C. 2019)........................................................................................8

In re Freeway Foods of Greensboro, Inc.,
    467 B.R. 853 (Bankr. M.D.N.C. 2012) ....................................................................................20

Fundingsland v. Omh Healthhedge Holdings, Inc.,
   No. 15-cv-01053-BAS(WVG), 2016 WL 3022053 (S.C. Cal. May 26, 2016) .......................13

GE Elec. Co. v. S & S Sales Co.,
   No. 1:11-cv-00837, 2011 WL 4369045 (N.D. Ohio Sept. 19, 2011) ......................................13

Godfredson v. JBC Legal Grp., P.C.,
   387 F. Supp. 2d 543 (E.D.N.C. 2005)......................................................................................21

Houser v. Feldman,
   No. CV 21-0676, 2021 WL 4991127 (E.D. Pa. Oct. 27, 2021) ...............................................17

IDX Sys. Corp. v. Epic Sys. Corp.,
   285 F.3d 581 (7th Cir. 2002) ...................................................................................................16

Intel Corp. v. Broadcom Corp.,
    173 F. Supp. 2d 201 (D. Del. 2001) .........................................................................................25

Johnson v. EEOC Charlotte Dist. Off.,
   No. 315CV00148RJCDSC, 2016 WL 3514456 (W.D.N.C. June 27, 2016) ...........................27

Lord Corp. v. S&B Tech. Prod., Inc.,
   No. 5:09-CV-205-D, 2011 WL 13152459 (E.D.N.C. Jan. 5, 2011) ........................................16

McCauley v. Home Loan Inv. Bank, F.S.B.,
  710 F.3d 551 (4th Cir. 2013) .....................................................................................................8

Norman v. Tradewinds Airlines, Inc.,
   286 F. Supp. 2d 575 (M.D.N.C. 2003) ..................................................................................6, 7

Oakwood Lab’ys LLC v. Thanoo,
   999 F.3d 892 (3d Cir. 2021).........................................................................................14, 15, 16

Ragsdale v. Kennedy,
   286 N.C. 130, 209 S.E.2d 494 (1974)......................................................................................10

Rahamankhan Tobacco Enters. Pvt. Ltd. v. Evans MacTavish Agricraft, Inc.,
   989 F. Supp. 2d 471 (E.D.N.C. 2013)..............................................................................8, 9, 12

Redox Tech, LLC v. Earthworks Sols. LLC,
   No. 5:17-CV-447-KS, 2018 WL 1733984 (E.D.N.C. Apr. 10, 2018) ...................................5, 6



                                                                 iv

             Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 5 of 35
Rhone–Poulenc Agro S.A. v. Monsanto Co.,
   73 F. Supp. 2d 554 (M.D.N.C. 1999) ........................................................................................7

Seguro-Suarez by & through Connette v. Key Risk Ins. Co.,
   261 N.C. App. 200, 819 S.E.2d 741 (2018) .......................................................................20, 21

Sensitech, Inc. v. LimeStone FZE,
   No. CV 20-11043-NMG, 2022 WL 227132 (D. Mass. Jan. 26, 2022)....................................17

Spirax Sarco, Inc. v. SSI Eng’g, Inc.,
    122 F. Supp. 3d 408 (E.D.N.C. 2015)......................................................................................18

SV Int’l, Inc. v. Fu Jian Quanyu Indus. Co.,
   820 F. Supp. 2d 677 (M.D.N.C. 2011) ..............................................................................24, 25

Tucker Auto-Mation of N.C., LLC v. Rutledge,
   No. 1:15-CV-893, 2017 WL 2930926 (M.D.N.C. July 10, 2017) ...........................................16

Tulowitzki v. Atl. Richfield Co.,
   396 A.2d 956 (Del. 1978) ........................................................................................................19

VLIW Tech., LLC v. Hewlett–Packard Co.,
   840 A.2d 606 (Del. 2003) ........................................................................................................12

Xia Bi v. McAuliffe,
   927 F.3d 177 (4th Cir. 2019) ...............................................................................................8, 11

Statutes

35 U.S.C. § 271 ....................................................................................................................3, 22, 25

Defend Trade Secrets Act, 18 U.S.C. § 1831 et seq. .....................................................3, 14, 15, 17

N.C. Gen. Stat. § 25-2-302 ............................................................................................................19

N.C. Gen. Stat. § 75-1.1 .................................................................................................................18

North Carolina Unfair and Deceptive Trade Practices Act .......................................................3, 18

Other Authorities

Fed. R. Civ. P. 8 ...............................................................................................................................7

Fed. R. Civ. P. 9 ...............................................................................................................................7

Fed. R. Civ. P. 9(b) ..........................................................................................................................8

Fed. R. Civ. P. 12(b)(6) and (ii) .......................................................................................................2


                                                                        v

               Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 6 of 35
Fed. R. Civ. P. 12(e) ..................................................................................................................2, 24

Fed. R. Civ. P. 12(b)(6)..............................................................................................................5, 26

MPEP 2111.03(II) ..........................................................................................................................23




                                                                     vi

              Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 7 of 35
                                        INTRODUCTION

       Plaintiffs Robert and Bradie Terracino (“Terracinos” or “Plaintiffs”) first filed this suit –

which includes, inter alia, allegations of breach of contract, theft of trade secrets, and patent

infringement – on January 7, 2022. On February 2, 2022, counsel for the Terracinos indicated

that they would be amending their Complaint. Defendants Trimaco, Charles Cobaugh, and David

May (“Defendants”) requested that the Terracinos amend promptly so that they could avoid

investing substantial resources in preparing a response to a complaint that would be non-

operative. Ex. 1. After a substantial delay, on February 25, 2022, the Plaintiffs backtracked and

indicated that they would not be amending the Complaint “at this time,” thus requiring the

Defendants to proceed with a response to the original Complaint (“Original Complaint”). Id. In

reliance on the Plaintiffs’ notification that they would not be filing an amended complaint,

Defendants prepared a motion to dismiss and accompanying brief, which they filed on March 28,

2022 (“Original Motion to Dismiss”) (ECF 14).

       In an about face, Plaintiffs filed a First Amended Complaint on April 18, 2022. Thus,

Defendants again find themselves preparing a motion to dismiss and motion for a more definite

statement (“New Motion to Dismiss”). Despite the fact the Original Motion to Dismiss clearly

set forth the deficiencies in Plaintiffs’ Original Complaint, however, the Plaintiffs failed to

address those deficiencies. Indeed, no matter how many complaints the Plaintiffs file, they

cannot escape the fact that their claims fail on their face as a matter of law.

       As set forth below, in the First Amended Complaint – as in the Original Complaint – the

Plaintiffs complain about the theft of trade secrets but still do not articulate what those secrets

are. The Plaintiffs continue to complain that the Patent License Agreement (“Agreement”) they

willingly entered into with Trimaco for their patent was actually procured by fraud, is




          Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 8 of 35
unconscionable, and has been breached, but still rely solely on the insufficient allegation that

Trimaco did not keep them informed about Trimaco’s patent application. And, they continue to

assert that Trimaco’s Stay Put™ Canvas Plus product infringes their patent even though it cannot

possibly do so based on the plain language of the patent claims.

       Defendants therefore submit this (i) Motion to Dismiss Plaintiffs’ Complaint pursuant to

Federal Rule of Civil Procedure 12(b)(6) and (ii) as to Count VIII in part, Motion for a More

Definite Statement pursuant to Federal Rule of Civil Procedure 12(e). As set forth below, the

granting of this motion in its entirety and dismissal of Counts I-VII and IX with prejudice is

wholly appropriate because it is abundantly clear that any amendments would be futile. Count

VIII should also be dismissed with prejudice, in part, because Plaintiffs’ Original Complaint and

now the First Amended Complaint affirmatively establish non-infringement with respect to

certain accused products. With regard to any remaining products, the Plaintiffs should be made

to explain how Trimaco could owe the Plaintiffs anything for patent infringement damages

whatsoever, when Plaintiffs have already received royalties pursuant to a license. In addition, the

Plaintiffs should be ordered to remit to Defendants their attorneys’ fees incurred in connection

with the filing of this New Motion to Dismiss, because Plaintiffs have failed to cure the

deficiencies they were given notice of in the Original Motion to Dismiss.

I.     STATEMENT OF FACTS
       A.      The Relationship Between the Parties and the Agreement

       The Plaintiffs allege that they approached Trimaco in 2015 to manufacture a drop cloth

used in the painting industry to protect floors and prevent the drop cloth from slipping. (ECF 17

at 4-5, ¶¶ 16, 18.) In 2016, Trimaco entered into the Agreement with Plaintiffs to license U.S.

Patent No. 9,044,917 (“the ‘917 patent”), which carries the title “Non-Skid Protective Cloth or

Pad.” Plaintiffs define the drop cloth disclosed in the ‘917 patent as “the Drop cloth.” (Id. at 5,

                                                  2

            Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 9 of 35
¶ 19.) The ‘917 patent is owned by the Plaintiffs and names them as inventors. Trimaco entered

into the Agreement because it “desire[d] to acquire an exclusive license under the ‘917 patent for

potential use in the development and sale of products covered by the ‘917 patent, and to

otherwise explore collaborative efforts with” the Terracinos. (ECF 17-2 at 1.) Trimaco paid

royalties up until early 2021, at which point it exercised its right to terminate pursuant to Section

6(C) of the Agreement. (Id. at 3; see also ECF 17 at 9, ¶ 45 & ECF 17-4.)

       B.       The Counts at Issue

       Unhappy with termination and the fact that their revenue stream was interrupted, the

Plaintiffs now challenge the Agreement and allege several causes of action against Trimaco,

Cobaugh, and May, individually and collectively, as follows:

               Count I: Fraud in the Inducement against Charles Cobaugh, Individually

               Count II: Fraud in the Inducement against Trimaco

               Count III: In the Alternative, Breach of License Agreement

               Count IV: Violations of the Defend Trade Secrets Act, 18 U.S.C. § 1831 et seq.,

                against David May, Individually

               Count V: Violations of the Defend Trade Secrets Act, 18 U.S.C. § 1831 et seq.,

                against Trimaco

               Count VI: Unfair and Deceptive Trade Practices in Violation of North Carolina

                Unfair and Deceptive Trade Practices Act, Gen. Stat. § 75-1.1, et seq., against

                Trimaco

               Count VII: In the Alternative, Declaratory Judgment that the Patent License

                Agreement Is Invalid for Unconscionability

               Count VIII: Patent Infringement under 35 U.S.C. § 271


                                                  3

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 10 of 35
               Count IX: Civil Conspiracy against All Defendants

       These causes of action all rely on the Agreement and related conduct now that Trimaco

has terminated it.

       C.       The ‘917 Patent

       U.S. Patent No. 10,683,607 describes “a protective cloth or pad that has a non-skid

backing.” (ECF 17-1 at 8, col. 1 ll. 12-15.) The ‘917 Patent was filed by Plaintiffs on October 2,

2013 under U.S. application number 14/044,130. (Id. at 1.) Plaintiffs were named as inventors.

(Id.) The ‘917 Patent issued on June 2, 2015 with two independent claims. (Id.) Independent

claim 1 recites:

       1. A non-skid protective cloth or pad, consisting of:

       a) a single, absorbent, plain woven upper layer free from any projecting cut pile

            and having an upper and a lower major surface;

       b) a single lower, resilient layer having an upper and a lower major surface, said

            upper major surface of said single lower resilient layer being disposed adjacent

            said lower layer of said single, absorbent, woven upper layer, said lower

            resilient layer comprising a network of downward projecting bumps

            interconnected one to another by a resilient grid, said downward projecting

            bumps comprising bumps having at least two different circumferential sizes,

            said downward projecting bumps each having a height, said height of bumps

            having the smaller of said at least two different circumferential sizes being

            greater than said height of bumps having said larger of said at least two

            circumferential sizes; and




                                                   4

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 11 of 35
       c) stitching disposed through both said single, absorbent, upper, woven layer and

            said single lower resilient layer;

            whereby when said lower major surface of said single lower resilient layer is

            placed on a support surface, a Sliding Coefficient of Friction measured in

            accordance with TAPPI T548 specification is greater than approximately 0.75.

(Id. at 11, col. 8 ll. 34-57 (emphasis added).) Notably, the preamble to claim 1 includes the

language “consisting of” which, as explained below, indicates that the patent claim is “closed,”

i.e., it cannot as a matter of patent law cover a product that includes any element in addition to

those recited in the claims.

       D.       Trimaco’s ‘607 Patent

       The ‘607 Patent relates to “a method of coating a drop cloth with an adhesive coating

material to prevent the drop cloth from slipping.” (ECF 17-6 at 7, col. 1 ll. 18-20.) The ‘607

Patent was filed by Trimaco on November 2, 2015 under U.S. provisional patent application

number 62/249,806. (Id. at 1.) May was named as one of the inventors. (Id.) The ‘607 Patent

issued on June 16, 2020 with one independent claim, which describes a “method for applying an

adhesive coating material on a canvas.” (Id. at 12, col. 11 ll. 20-47.)

II.    APPLICABLE LAW

       A.       Motion to Dismiss Standards

       When considering a motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil

Procedure, the district court “must determine whether the complaint is legally and factually

sufficient.” Diop v. BMW of N. Am., LLC, 511 F. Supp. 3d 679, 683 (E.D.N.C. 2021). In other

words, a complaint must contain facts sufficient to “state a claim to relief that is plausible on its

face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). In a complaint, a claim “must

contain ‘more than labels and conclusions.’” Redox Tech, LLC v. Earthworks Sols. LLC, No.
                                                  5

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 12 of 35
5:17-CV-447-KS, 2018 WL 1733984, at *2 (E.D.N.C. Apr. 10, 2018) (quoting Twombly, 550

U.S. at 555). More importantly, a claim “must give a defendant fair notice of the claim and the

grounds upon which it rests.” Id. (quotations omitted). Where one cannot infer from the

pleadings “more than the mere possibility of misconduct,” the plaintiff has failed to show it is

entitled to relief and the claims should be dismissed. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

“In other words, if after taking the complaint’s well-pleaded factual allegations as true, a lawful

alternative explanation appears a ‘more likely’ cause of the complained of behavior, the claim

for relief is not plausible.” ACS Partners, LLC v. Americon Grp., Inc., No. 3:09CV464-RJC-

DSC, 2010 WL 883663, at *4 (W.D.N.C. Mar. 5, 2010) (citing Iqbal, 556 U.S. at 680-82).

         B.        Choice of Law

         Plaintiffs’ choice of law analysis is lacking in their First Amended Complaint, just as it

was in the Original Complaint. Plaintiffs have not asserted the applicable state law for their

claims of Fraud in the Inducement against Cobaugh and Trimaco (Counts I and II), Breach of the

License Agreement (Count III), or in their request for a Declaratory Judgment that the

Agreement is Invalid for Unconscionability (Count VII). This comes despite the fact that

Plaintiffs agreed that the Agreement would be interpreted under the laws of Delaware, (ECF 17-

2, at § 10), and then later agreed that the laws of Ohio would apply. (ECF 17-3, at § 8.)

Regardless of which state’s laws apply to the fraud claims (Counts I and II) and the contract

claims (Counts III and VII), the outcome is the same – Plaintiffs have not sufficiently pleaded “a

claim to relief that is plausible on its face” for any of its claims, despite their second bite at the

apple. Twombly, 550 U.S. at 570.1


1
 Under North Carolina’s choice of law rules, “[f]or actions sounding in tort law, such as fraud, the law of the ‘place
of the wrong’ controls.” Norman v. Tradewinds Airlines, Inc., 286 F. Supp. 2d 575, 584 (M.D.N.C. 2003) (quoting
Rhone–Poulenc Agro S.A. v. Monsanto Co., 73 F. Supp. 2d 554, 556 (M.D.N.C. 1999)). “In a fraud claim, the place
of the wrong is the locale in which the injury to the plaintiff occurs, i.e., where the loss is sustained, not where alleged

                                                             6

           Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 13 of 35
III.     OVERVIEW OF ARGUMENT

         Despite the liberal pleading standards of federal district court, none of the claims

remotely passes muster under the Fed. R. Civ. P. 8, let alone the stricter rules of Fed. R. Civ. P. 9

in the case of the Plaintiffs’ allegations of fraud. Trimaco, Cobaugh, and May move to dismiss

Plaintiffs’ First Amended Complaint with respect to Counts I-VII, IX, and VIII (in part), because

Plaintiffs have failed to meet the required pleading standards for each cause of action. By way of

example only, with respect to Counts I and II, the Plaintiffs fail to plead the elements of fraud

with specificity as required. The only statement allegedly constituting fraudulent inducement by

Cobaugh and Trimaco, by and through Cobaugh, relates to a matter of opinion regarding

Trimaco’s filing of its own patent application, and not to the subject matter of the Agreement.

With regard to their breach of contract claim, the Terracinos fail to allege how any particular

provision was breached, despite that being an express pleading requirement. With regard to their

theft of trade secrets claims, the Terracinos fail to articulate what trade secrets have been taken.

And the list continues, with claim after claim failing to articulate a cause of action. These flaws

remain even though Plaintiffs were given a roadmap of the Original Complaint’s deficiencies in

the Original Motion to Dismiss, along with case law setting forth the pleading requirements.

         In addition, Trimaco, also seeks to dismiss Claim VIII in part, because their First

Amended Complaint expressly disproves the existence of liability for patent infringement by

Trimaco’s current Stay Put™ Canvas Plus drop cloth. For the remainder of Claim VIII, Trimaco


fraudulent representations are made.” Id. (emphasis added). Plaintiffs state that they currently reside in Virginia. (ECF
17 at 2, ¶¶ 7-8.) Plaintiffs do not provide facts about when the loss was sustained, the type of damage they suffered as
a result of the alleged fraud, or where they resided when this alleged loss was sustained. Therefore, either Virginia or
North Carolina law could apply to Counts I and II. With respect to the interpretation of a contract, “the law of the
place where the contract was made” governs under the choice of law rules of North Carolina except “if the parties to
the contract have agreed that a given jurisdiction’s substantive law will govern the interpretation of the contract.”
Rhone–Poulenc, 73 F. Supp. 2d at 556. Therefore, Delaware, Ohio, or North Carolina law could apply to Counts III
and VII. Defendants have not identified any substantive difference as between the different jurisdictions that would
be material as it relates to the Terracinos’ claims.

                                                           7

           Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 14 of 35
seeks a more definite statement because the First Amended Complaint and the Exhibits do not

identify what remaining products manufactured by Trimaco would allegedly infringe the ‘917

patent that were not already subject to royalty payments. Trimaco knows of none.

IV.    TRIMACO’S MOTION TO DISMISS MUST BE GRANTED FOR COUNTS I-IX
       BECAUSE THE TERRACINOS FAIL TO MEET THE PLEADING STANDARDS
       FOR EACH CAUSE OF ACTION
       A.      Counts I and II – Fraud in the Inducement against Cobaugh and Trimaco

       The pleading standards for claims of fraud are assessed under Federal Rule of Civil

Procedure 9(b). Under Rule 9(b), “a party must state with particularity the circumstances

constituting fraud.” Fed. R. Civ. P. 9(b). The purpose of Rule 9(b) is “to provide defendants with

fair notice of claims against them and the factual ground upon which they are based.” McCauley

v. Home Loan Inv. Bank, F.S.B., 710 F.3d 551, 559 (4th Cir. 2013). “These facts are often

referred to as the who, what, when, where, and how of the alleged fraud.” Bakery &

Confectionary Union & Indus. Int’l Pension Fund v. Just Born II. Inc., 888 F.3d 696, 705 (4th

Cir. 2018) (quotations omitted). Under North Carolina law, fraud requires a plaintiff to plead five

elements concerning the alleged misstatement: “(1) false representation or concealment of a

material fact, (2) reasonably calculated to deceive, (3) made with intent to deceive, (4) which

does in fact deceive, and (5) resulting in damage to the injured party.” Fitzgerald Fruit Farms

LLC v. Aseptia, Inc., 527 F. Supp. 3d 790, 798 (E.D.N.C. 2019) (citations omitted); see also Xia

Bi v. McAuliffe, 927 F.3d 177, 183 (4th Cir. 2019), as amended (July 9, 2019) (Virginia “law

require[s] that each defendant made a material misstatement.”).

       In addition, when pleading fraud by omission, a plaintiff “must plausibly allege,” among

other factors, “the relationship or situation giving rise to the duty to speak” and “why [plaintiff’s]

reliance on the omission was both reasonable and detrimental.” Rahamankhan Tobacco Enters.

Pvt. Ltd. v. Evans MacTavish Agricraft, Inc., 989 F. Supp. 2d 471, 477 (E.D.N.C. 2013). When

                                                  8

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 15 of 35
identifying the relationship, “[t]he party that allegedly failed to speak must have had a duty to

disclose the information such as when there is a relationship of trust and confidence between the

parties.” Id. (internal citations omitted). “Contracting parties in a commercial transaction are not

in a relationship of trust and confidence.” Id. (emphasis added).

         Plaintiffs do not come close to satisfying this pleading standard. In their First Amended

Complaint, the Plaintiffs state generally that Trimaco and Cobaugh have “misstat[ed] and

conceal[ed] material facts as detailed above,” but then state specifically only that Cobaugh and

Trimaco, through Cobaugh, withheld “the material fact that Trimaco intended to and had filed a

patent application . . . claiming the Terracinos’ invention that had been revealed to Cobaugh

during the discussions leading up to the Terracinos entering into the Agreement, and as revealed

in the Terracinos’s patent.” (ECF 17 at 13, ¶ 65.) Plaintiffs allege that, “[t]hese misstatements

and concealment of material facts were intended to and did in fact deceive the Terracinos into

entering into the Agreement and into disclosing their inventions and trade secrets.” (ECF 17 at

13-14, ¶¶ 65, 71.)2

         This bare bones statement – which essentially states only that Trimaco and Cobaugh did

not tell the Plaintiffs about Trimaco’s patent application – fails each element of the requisite

pleading standards.

                  It does not state any facts outlining how Defendant Cobaugh actually “concealed”

                   anything;




2
  Plaintiffs’ pleading of fraud is also unintelligible and internally inconsistent. Specifically, the Plaintiffs allege both
that Trimaco (through Cobaugh) concealed the fact that Trimaco failed to disclose to the Terracinos that it “intended”
to file a patent application “claiming the Terracinos’s invention” and “then did file” a patent application “claiming the
Terracinos’s invention.” (See ECF 17 at 13-14, ¶¶ 65, 71.)


                                                             9

           Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 16 of 35
                It does not state a “fact” as a misrepresentation at all, but rather the Terracinos’

                 opinion that Trimaco filed a patent application “claiming” the Terracinos’

                 invention;

                It does not explain why the filing of a patent application by Trimaco is material to

                 the Terracinos’ decision to enter into an agreement licensing their patent;

                It does not state how or why such a concealment could or would have been

                 calculated to deceive or could have been made with intent to deceive;

                It does not state how the Terracinos were deceived;

                It does not state how the Terracinos, Cobaugh and Trimaco, through Cobaugh,

                 were in a relationship of trust and confidence giving rise to a duty to disclose;

                Nor does it state why the Terracinos would have justifiably relied on this

                 omission to enter into an Agreement pursuant to which they were paid royalties,

                 and forego other opportunities.

          Several aspects are worthy of additional comment. First, the alleged fraudulent “fact”

does not appear to be a “fact” at all. With regard to fraud, “[a] subsisting or ascertainable fact, as

distinguished from a matter of opinion or misrepresentation relating to future prospects, must be

represented.” Ragsdale v. Kennedy, 286 N.C. 130, 139, 209 S.E.2d 494, 500 (1974) (citing

Berwer v. Insurance Co., 214 N.C. 554, 200 S.E. 1 (1938)). It may be the Terracinos’ opinion

that Trimaco filed a patent application that covered subject matter belonging to them, but it is not

a fact.

          Second, this alleged omission cannot be a material misrepresentation with respect to the

Agreement because the subject of the Agreement, as opposed to the purportedly concealed

“fact,” was to license Plaintiffs’ patent. The Agreement is silent with regard to ownership of


                                                   10

           Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 17 of 35
future innovations, or the existence or non-existence of Trimaco’s own patent applications. (ECF

17-2.) Thus, even if Defendant Cobaugh had “concealed” the filing of Trimaco’s patent

application, the Terracinos do not explain why this concealment would be material to an

agreement to license their intellectual property. Relatedly, the Terracinos do not explain why

they would have been justified in relying on this omission when the Agreement does not allocate

intellectual property rights as between the two parties. If the Terracinos had desired certain

representations, as in Xia Bi, Plaintiffs were in possession of the Agreement before it was signed

and could have asked. See e.g., Xia Bi, 927 F.3d at 184-87; (ECF 17 at 6-7, ¶ 30.) Plaintiffs

clearly read the Agreement and had the ability to raise any concerns yet chose not to.

       Third, the Terracinos do not explain why this supposed “concealment” would have

deceived them “into entering the Agreement and into disclosing their inventions and trade

secrets.” (ECF 17 at 13-14, ¶¶ 65, 71.) This allegation is circular in the extreme. The Terracinos

make the strange assertion that the “fact” that Trimaco concealed it had already filed a patent

application covering the Terracinos’ invention induced the Terracinos to enter into an agreement

pursuant to which they would then reveal their invention. But if the revealing of the “invention”

came after the Agreement, then how can the application covering the invention already have

been filed? The Terracinos flip-flop between past and present tense within the same sentence –

“intended to [file] and then did file” – makes their allegations difficult, if not impossible, to

understand. (Id.) Despite having the opportunity to replead, the only new allegation is that the

Terracinos claim they revealed their “invention” during discussions leading up to the Agreement.

This merely underscores the fact that whatever they told Trimaco or Cobaugh during this period

was not confidential.




                                                  11

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 18 of 35
       Fourth, the Terracinos do not explain why they were entitled to know about Trimaco’s

filing of the ‘806 application. The parties were engaged in a commercial transaction for Trimaco

to license the ‘917 patent, which the Terracinos initiated. (ECF 17 at 5, ¶ 18.) Thus, there was no

relationship of trust and confidence that would create a duty for Trimaco to disclose business

operations to the Terracinos that are beyond the scope of the license agreement. See

Rahamankhan Tobacco, 989 F. Supp. 2d at 477 (concluding that defendant had no duty disclose

other business relationships in connection with commercial transaction). The Agreement has no

provision requiring Trimaco to refrain from filing patent applications or to assign any ownership

of rights within the drop cloth space to the Terracinos. (ECF 17-2.) Assuming arguendo that

Trimaco did in fact take the Terracinos’ “invention” – and it did not – the Terracinos could bring

a separate action, including by asserting inventorship. Notably, however, their First Amended

Complaint omits the inventorship claim that was asserted in the Original Complaint. This was

the one unsupported claim Plaintiffs actually acted reasonably with regard to and did not refile.

       In sum, Plaintiffs have failed to plead fraud in the inducement against Cobaugh and

Trimaco coherently, legally consequentially, or with any specificity – despite having had a

renewed opportunity to do so. They have still failed to articulate a supposed fraudulent “fact,” or

articulate why Trimaco had any duty to speak up about its own filing of a patent application.

Ultimately, Plaintiffs were represented by counsel, read the agreement before signing, could

have renegotiated, or questioned the terms of the Agreement, but chose to sign. Counts I and II

should be dismissed with prejudice for failure to state a claim upon which relief can be granted.

       B.      Count III – Breach of License Agreement

       A breach of contract claim requires plaintiffs to “demonstrate: first, the existence of a

contract . . .; second, the breach of an obligation imposed by that contract; and third, the

resultant damage to the plaintiff.” VLIW Tech., LLC v. Hewlett–Packard Co., 840 A.2d 606, 612
                                                 12

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 19 of 35
(Del. 2003) (emphasis added); see also BCG Masonic Cleveland, LLC v. Live Nation Ent., Inc.,

No. 1:21-CV-00710, 2021 WL 5166483, at *5 (N.D. Ohio Nov. 5, 2021). Importantly, “it is

insufficient for a claimant to allege generally that a contract was breached without identifying the

factual basis for that allegation.” GE Elec. Co. v. S & S Sales Co., No. 1:11-cv-00837, 2011 WL

4369045, at *2 (N.D. Ohio Sept. 19, 2011). Additionally, “[t]he plaintiff must identify an express

contract provision that the defendant breached in order for the complaint to survive a motion to

dismiss.” Fundingsland v. Omh Healthhedge Holdings, Inc., No. 15-cv-01053-BAS(WVG),

2016 WL 3022053, at *5 (S.C. Cal. May 26, 2016) (applying Delaware law).

       In their Original Complaint, Plaintiffs failed to name any specific provision of the

Agreement that had allegedly been breached. Even now, Plaintiffs still complain that Trimaco

failed to give notice that it had filed a patent application without saying what provision of the

License is supposedly breached by this alleged failure. Thus, this allegation goes nowhere

toward articulating a breach. In BCG, for example, the failure to cite specific language made it

“unclear what specific contractual provision [the plaintiff] contend[ed] [the defendant]

breached.” Id. at *6. Therefore, the court concluded, the plaintiff failed “to plausibly allege a

breach of contract claim.” Id.

       Reciting a provision of a contract without explaining the how is equally insufficient. A

breach of contract claim must “contain sufficient factual matter, [which when] accepted as true . .

. , state[s] a claim to relief that is plausible on its face.” Iqbal, 556 U.S. 662, 678. Mere

“recitation of a cause of action’s elements” is insufficient to withstand a motion to dismiss.

Twombly, 550 U.S. 544, 545. Here, Plaintiffs have done nothing more than add a passing

reference to “⁋⁋ 3, 7” without articulating how these provisions were allegedly breached. (ECF

17 at 15, ¶¶ 77-82.) They allege only generally that Trimaco failed “to make the complete



                                                  13

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 20 of 35
royalty payments to the Terracinos as required under the Agreement under ¶ 3,” (id. at ¶ 81), but

do not provide any facts of how Trimaco’s royalty payments were incomplete. The Terracinos

agreed to “a royalty of 2% on net sales in the United States.” (ECF 17-2 at § 3(A).) The

Terracinos do not allege that Trimaco failed to make these royalty payments pursuant to the

Agreement. Nor do the Plaintiffs provide facts to support the allegation that Trimaco allegedly

“misus[ed] the Terracinos’s trade secrets and other proprietary information to file Trimaco’s own

patent application directed to the same in violation of the Agreement ¶¶ 3, 7.” (ECF 17 at 15, ¶

81).

       Indeed, according to Plaintiffs’ allegations, both the disclosure of the supposed trade

secret information as well as the alleged misappropriation in Trimaco’s patent filing on

November 2, 2015 occurred well before the Agreement was executed on February 10, 2016.

Thus, any alleged use of trade secrets by Defendants would not have been subject to any

obligation pursuant to the Agreement, which had not yet been inked. (ECF 17 at 5-9, ¶¶ 21, 43,

49.) Finally, Plaintiffs do not provide facts, nor provide a specific contractual provision, to

support the allegation that Trimaco was bound to “give notice to the Terracinos regarding

Trimaco’s patent applications directed to the Terracino’s invention.” (Id.).

       Accordingly, Plaintiffs have failed to plead adequately a breach of contract claim. They

have alleged no facts as to how Trimaco allegedly breached any contractual provision. Thus,

Count III fails to state a claim upon which relief can be granted and should be dismissed with

prejudice.

       C.      Counts IV & V – Violations of the Federal Defend Trade Secrets Act against
               May and Trimaco

       The Federal Defend Trade Secrets Act (“DTSA”) “requires a plaintiff to demonstrate (1)

the existence of a trade secret . . .; and (3) the misappropriation of that trade secret.” Oakwood


                                                 14

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 21 of 35
Lab’ys LLC v. Thanoo, 999 F.3d 892, 905 (3d Cir. 2021). A plaintiff “must sufficiently identify

the information it claims as a trade secret and allege facts supporting the assertion that the

information is indeed protectable as such.” Id. This means that a plaintiff must allege that the

alleged trade secret qualifies as a trade secret and that a plaintiff has taken reasonable steps to

protect it. Id.

        Here, Plaintiffs have failed to set forth any trade secret with specificity and have utterly

failed to show that they have taken any steps to protect anything as a trade secret, much less

reasonable steps. In their Original Complaint, they identified no trade secrets at all. Now they

state that the trade secrets are “related to the construction and use of the invention as described in

the Terracinos’s patent . . . and as described and claimed by May and Trimaco in the ‘806

provisional application.” (ECF 17 at 15-17 ⁋ 84, ⁋ 91.) But by stating that the “trade secrets” are

contained in either the Terracinos’ patent or Trimaco’s ‘806 provisional application, the

Terracinos have pleaded themselves out of court. Whatever was contained publicly in the

Terracinos’ patent cannot be secret. Moreover, whatever Trimaco disclosed in the provisional

application would have been disclosed before the Agreement was entered and, as a result, before

Trimaco was bound to maintain information as confidential.

        Ignoring the Terracinos’ manifest inconsistencies for a moment, the Terracinos’ DTSA

claims also fail because it is still utterly lacking in detail. Other than using the phrase “trade

secrets,” Plaintiffs provide no information whatsoever regarding the trade secrets the Defendants

allegedly misappropriated. They simply allege that Defendants May and Trimaco

“misappropriated the Terracinos’ trade secrets and used them to manufacture and sell the Drop

Cloth Product,” (ECF 17 at 16, ¶ 87), and that the trade secret comprises “knowledge. . . related

to the construction and use of the invention as described in the Terracinos’ patent as well as



                                                  15

          Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 22 of 35
improvements thereto described and claimed by May and Trimaco in the ‘806 provisional

application.” (Id. at 16-17, ¶¶ 84, 91.) This allegation forms the entire basis of Counts IV and V

of the Terracinos’ First Amended Complaint. But the Terracinos do not provide any particulars

on what knowledge they imparted on the Defendants that allegedly constitutes a trade secret;

they do not describe how that knowledge relates to the construction and use of the invention; nor

do they specify how that knowledge, which they admit relates to matters in a public filing, is

entitled to the highest level of protection from disclosure under the law.

       The courts have found far more detailed complaints than that of Plaintiffs to be deficient.

In IDX, for example, the court determined that the plaintiffs generally referring to “a 43-page

description of the methods and processes” of the technology was not specific enough because the

plaintiffs had failed to “separate the trade secrets from the other information” and identify

“[w]hich aspects are known to the trade, and which are not.” IDX Sys. Corp. v. Epic Sys. Corp.,

285 F.3d 581, 583-584 (7th Cir. 2002). For example, “many of the items that appear[ed] in the

43-page description . . . are exceedingly hard to call trade secrets [because they are] . . . readily

ascertainable by proper means.” Id. (internal quotations omitted).

       While “[a] plaintiff is not required to plead a trade secret . . . with specificity,” Lord

Corp. v. S&B Tech. Prod., Inc., No. 5:09-CV-205-D, 2011 WL 13152459, at *7 (E.D.N.C. Jan.

5, 2011), the alleged “trade secret must be identified with enough specificity to place a defendant

on notice of the bases for the claim being made against it.” Oakwood, 999 F. 3d at 906; see also

Tucker Auto-Mation of N.C., LLC v. Rutledge, No. 1:15-CV-893, 2017 WL 2930926, at *4

(M.D.N.C. July 10, 2017) (“[T]he complaint must identify the trade secret with sufficient

particularity so as to enable a defendant to delineate that which he is accused of misappropriating

and a court to determine whether misappropriation has or is threatened to occur.” (quotations



                                                  16

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 23 of 35
omitted)). In brief, the First Amended Complaint does not remotely inform Trimaco and May of

“that which [they are] accused of misappropriating.”

         Moreover, the Terracinos have failed to articulate, as is required, the reasonable steps

they took to protect whatever it is they deem to be their trade secrets. Sensitech, Inc. v.

LimeStone FZE, No. CV 20-11043-NMG, 2022 WL 227132 at *4-5 (D. Mass. Jan. 26, 2022). In

Sensitech, the plaintiff had asserted that it “took reasonable measures to safeguard its

confidential information by preventing third parties from accessing it but fail[ed] to elaborate

upon what those measures were.” Id. The claim did not, for example, “allege any facts about how

the confidential information was stored, whether those individuals and entities to whom it was

disclosed (including [the defendant]) were subject to confidentiality agreements and what

portion, if any, of the information was publicly known.” Id.

         The Terracinos have failed to highlight any reasonable steps they took to protect their

trade secrets, such as by use of a confidentiality agreement, or to identify what the trade secrets

could even consist of.3 In fact, the First Amended Complaint proves the opposite. It is replete

with allegations that the Terracinos provided the Defendants with allegedly confidential

information before the Agreement was executed – i.e. before any confidentiality agreement was

in place. (ECF 17 at 5 ¶¶ 18-21, ¶ 43.) Thus, Counts IV and V should be dismissed, with

prejudice, for failure to state a claim upon which relief can be granted.


3
  It is also important to note that the DTSA “provides that private civil actions may not be commenced later than 3
years after the date on which the misappropriation with respect to which the action would relate is discovered or by
the exercise of reasonable diligence should have been discovered.” Houser v. Feldman, No. CV 21-0676, 2021 WL
4991127, at *4 (E.D. Pa. Oct. 27, 2021) (quoting 18 U.S.C. § 1836(d)). Thus, “a claim for misappropriation arises
only once . . at the time of the initial misappropriation.” Amalgamated Indus. Ltd. v. Tressa, Inc., 69 Fed. App’x 255,
261 (6th Cir. 2003). “[A] complaint may be dismissed on statute of limitations grounds when it is apparent on its face
that the claim lies outside of the limitations period.” Houser, 2021 WL 4991127, at *5. Therefore, regardless of the
fact that Plaintiffs have failed to articulate what their supposed trade secrets are, Counts IV and V should be dismissed
because the statute of limitations have passed for the Plaintiffs to assert a claim of trade secret misappropriation under
the DTSA. If there was misappropriation relating to the Drop Cloth, the initial misappropriation by the Plaintiffs’ own
allegations occurred well before January 2019 (three years before the filing of the Complaint).

                                                           17

           Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 24 of 35
       D.       Count VI – Unfair and Deceptive Trade Practices in Violation of N.C. Gen.
                Stat. § 75-1.1 against Trimaco

       Under North Carolina’s Unfair and Deceptive Trade Practices Act (“UDTPA”), a

plaintiff wishing to state a claim “must plausibly allege that: (1) the defendant committed an

unfair or deceptive act or practice; (2) the act or practice was in or affecting commerce; and (3)

the act proximately caused injury to the plaintiff.” Spirax Sarco, Inc. v. SSI Eng’g, Inc., 122 F.

Supp. 3d 408, 422 (E.D.N.C. 2015). A court will find “[a]n act [as] unfair when it offends

established public policy, is immoral, unethical, oppressive, unscrupulous, or substantially

injurious to consumers or amounts to an inequitable assertion of power or position,” while a

court will find “[a]n act [as] deceptive if it has a tendency to deceive.” Id. at 423 (quotations

omitted).

       Importantly, though “where a valid contract governs the relationship between plaintiffs

and defendant . . . the rights and remedies of the parties lie in contract law and not in unfair and

deceptive trade practices.” Elrod v. WakeMed, No. 5:20-CV-413-FL, 2021 WL 4312557, at *14

(E.D.N.C. Sept. 22, 2021) (emphasis added). Likewise, “where plaintiffs’ claims based in fraud

and contract invalidity claims fail as a matter of law, plaintiffs[’] unfair and deceptive trade

practices asserted based upon the same underlying conduct also must be dismissed.” Id.

       Here, a valid contract governs the relationship between Plaintiffs and Trimaco. Thus, the

Plaintiffs can bring no cause of action pursuant to the UDTPA, and any dispute over remedies to

which the Plaintiffs allege they are entitled would lie in contract law rather than the UDTPA. As

discussed in the next section, Plaintiffs do not sufficiently plead contract invalidity due to

unconscionability. But even if the contract between Plaintiffs and Trimaco were invalid, the

Plaintiffs fail to sufficiently plead fraudulent inducement in Counts I and II as discussed above in

Section IVA. The Plaintiffs had an opportunity to cure these deficiencies in their First Amended


                                                 18

            Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 25 of 35
Complaint, but they failed to do so. Indeed, Count VI is identical to Count VI from the Original

Complaint. Count VI should therefore be dismissed, with prejudice, for failure to state a claim

upon which relief can be granted.

       E.      Count VII – Declaratory Judgment that the Patent License Agreement Is
               Invalid for Unconscionability in Violation of N.C. Gen. Stat. § 25-2-302

       The Terracinos received royalties under the Agreement for five years. They never

challenged its validity although, throughout the duration of the Agreement, they were fully aware

of the facts on which they now claim invalidity. The only thing that is different is that Trimaco

terminated the Agreement. But the Agreement is not suddenly rendered invalid as

unconscionable because Trimaco terminated it. Yet, there is no other explanation for the

Terracinos bringing this claim now. In addition, despite being put on notice that this Count was

deficient in the Original Complaint, Plaintiffs took no steps to address those deficiencies.

       “Freedom of contract, unless contrary to public policy or prohibited by statute, is a

fundamental right included in our constitutional guarantees.” Allstate Ins. Co. v. Shelby Mut. Ins.

Co., 269 N.C. 341, 345-46, 152 S.E.2d 436 (1967). With regard to a claim of contract invalidity

for unconscionability, a court will find “a contract is unconscionable if there is an absence of

meaningful choice and if the contract terms are unreasonably favorable to one of the parties, that

is, there is procedural unconscionability or substantive unconscionability.” Boatright v. Aegis

Def. Servs., LLC, 938 F. Supp. 2d 602, 609 (E.D. Va. 2013) (citing Tulowitzki v. Atl. Richfield

Co., 396 A.2d 956, 960 (Del. 1978)) (applying Delaware law). In other words, “a contract is

unconscionable if it is such as no man in his senses and not under delusion would make on the

one hand, and as no honest or fair man would accept, on the other.” Tulowitzki, 396 A.2d at 960.

“Superior bargaining power alone without the element of unreasonableness does not permit a

finding of unconscionability or unfairness.” Id.


                                                   19

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 26 of 35
       Plaintiffs fail to plead sufficiently their claim that the Agreement is unconscionable.

Indeed, Plaintiffs do nothing more than nitpick a contract they signed, with the advice of counsel,

and under which they accepted royalties for five years without complaint. Plaintiffs state only

that they had unfair bargaining power, that Trimaco exerted undue influence, and that the

Terracinos lacked meaningful choice. (ECF 17 at 18-19, ¶¶ 102-108.) To the extent they

complain about any provision in the contract – after the fact – any one of those provisions could

have been negotiated in a timely manner in 2016.

       Plaintiffs have not come remotely close to pleading with sufficiency that the Agreement

or any provision of it is unconscionable such that “no honest or fair man would accept it.” Even

if they had, the only remedy from the Court would be to refuse to enforce it. See, e.g., Elrod,

2021 WL 4312557, at *9. The Agreement, however, has already been terminated. Thus, it is of

no further moment to the parties’ legal relationship, and this claim is a waste of this Court’s

resources. Count VII should therefore be dismissed, with prejudice, for failure to state a claim

upon which relief can be granted.

       F.      Count IX – Civil Conspiracy against All Defendants

       North Carolina law establishes that, “[i]n order to sufficiently plead a claim for civil

conspiracy . . . , a plaintiff must allege (1) an agreement between two or more individuals; (2) to

do an unlawful act or to do a lawful act in an unlawful way; (3) resulting in injury to plaintiff

inflicted by one or more of the conspirators; and (4) pursuant to a common scheme.” In re

Freeway Foods of Greensboro, Inc., 467 B.R. 853, 867 (Bankr. M.D.N.C. 2012) (quotations

omitted). “A claim for civil conspiracy essentially associates the defendants together so that the

acts and conduct of one defendant may be admissible against all.” Id. However, courts also apply

the intra-corporate immunity rule to civil conspiracy claims. Seguro-Suarez by & through

Connette v. Key Risk Ins. Co., 261 N.C. App. 200, 218, 819 S.E.2d 741, 754 (2018). This
                                                 20

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 27 of 35
“doctrine provides that, because at least two persons must be present to form a conspiracy, a

corporation cannot conspire with itself, just as an individual cannot conspire with himself.” Id.

(quotations omitted). Necessarily, “an allegation that a corporation is conspiring with its agents,

officers, or employees is tantamount to accusing a corporation of conspiring with itself.” State ex

rel. Cooper v. Ridgeway Brands Mfg., LLC, 184 N.C. App. 613, 625, 646 S.E.2d 790, 799

(2007). Therefore, such an allegation is “insufficient to establish a claim for civil conspiracy.”

Seguro-Suarez, 261 N.C. App. at 218.

       The personal stake exception to the intra-corporate immunity rule “has been limited, such

that it applies only where a co-conspirator possesses a personal stake independent of his

relationship to the corporation.” ePlus Technology, Inc. v. Aboud, 313 F.3d 166, 179 (4th Cir.

2002). Courts recognize that “the employees and officers of a corporation generally have a

financial stake in that corporation” and thus, “[s]omething more is required to invoke the

exception to the” intra-corporate immunity rule. Godfredson v. JBC Legal Grp., P.C., 387 F.

Supp. 2d 543, 550 (E.D.N.C. 2005). “That something more is a financial stake in the outcome of

the alleged conspiracy, separate from and independent of the financial stake in the corporation.”

Id. (emphasis added).

       Here, Cobaugh and May are officers of and employed by Trimaco. (ECF 17 at 3, ¶¶ 10-

11.) The intra-corporate immunity doctrine therefore applies, because Trimaco “cannot conspire

with itself.” The personal stake exception does not apply because plaintiffs provide no

allegations that Cobaugh and May had any financial stake independent of their financial stake in

Trimaco. In their First Amended Complaint, Plaintiffs have added the allegation that May “had

independent personal stakes in achieving the corporation’s illegal objective [including] obtaining

a patent for the invention in May’s name alone,” without acknowledging that May assigned any



                                                 21

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 28 of 35
rights he had in the ‘607 patent to Trimaco. (ECF 17 at 20, ¶ 121.) This allegation cures nothing.

Plaintiffs have failed to sufficiently plead that the personal stake exception applies here because

Cobaugh and May had no independent financial stake in the outcome of the alleged conspiracy,

and therefore the intra-corporate immunity doctrine clearly applies. Thus, the Court should

dismiss Count IX, with prejudice, for failure to state a claim upon which relief can be granted.

        G.      Count VIII – Patent Infringement under 35 U.S.C. § 271

        Plaintiffs’ pleading does not meet the standard of demonstrating factual allegations

which, if true, articulate a plausible patent infringement claim. As set forth, Plaintiffs accuse one

of Trimaco’s drop cloth products that has a liquid barrier component of infringing the claims of

the Terracinos’ patent, even though having a liquid barrier layer – or “component” in the words

of the First Amended Complaint – means that it cannot possibly infringe the Terracinos’ patent

based on the plain language of the Terracinos’ patent claims.

        In the context of a patent infringement claim, “a plaintiff cannot assert a plausible claim

for infringement under the Iqbal/Twombly standard by reciting the claim elements and merely

concluding that the accused product has those elements.” Bot M8 LLC v. Sony Corp. of Am., 4

F.4th 1342, 1353 (Fed. Cir. 2021). The pleading standard requires “some factual allegations that,

when taken as true, articulate why it is plausible that the accused product infringes the patent

claim.” Id. Thus, “[w]here . . . the factual allegations are actually inconsistent with and contradict

infringement, they are . . . insufficient to state a plausible claim.” Id. at 1354.

        In Bot M8, the plaintiff accused the defendant of infringing a patent in which “Claim 1 . .

. require[d] ‘a board including a memory in which a game program . . .and an authentication

program . . . are stored’ separate from a ‘motherboard.’” Id. at 1353. However, the plaintiff

alleged in its complaint “that the authentication program is located on the [accused product’s]



                                                   22

          Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 29 of 35
motherboard itself.” Id. at 1354. Thus, the pleading itself established that the patent claim

required a memory separately from the motherboard, while the allegedly infringing product did

not have that separate memory. This assertion by the plaintiff “render[ed] [its] infringement

claim not even possible, much less plausible.” Id. (emphasis added). On appeal, the Federal

Circuit agreed that the plaintiff “ha[d] essentially pleaded itself out of court” because of the

assertions contradicting the claim language. Id.

        Here, Plaintiffs also contradict the language of Claim 1 of their ‘917 patent with respect

to at least the Stay Put™ Canvas Plus product. Plaintiffs specifically state that “the Stay Put

Canvas [includes] a canvas layer and a surface grip layer, and the Stay Put Canvas Plus drop

cloth further incorporat[es] a liquid barrier component.” (ECF 17 at 11, ¶ 61.) However, Claim

1’s preamble states: “A non-skid protective cloth or pad consisting of: a) a single . . .upper layer .

. . ; b) a single lower . . . layer . . .; and c) stitching.” (ECF 17-1 at col. 8, ll. 34-57 (emphasis

added).)

        It is well settled that when “consisting of” is used in the preamble of a patent claim, it

signals to the public that the patentee means to “exclude[ ] any element, step, or ingredient not

specified in the claim.” MPEP 2111.03(II) (emphasis added). Therefore, the scope of Claim 1

excludes anything other than the three elements recited above and their respective sub-

components. Because by the Plaintiffs’ own allegations, the Stay Put™ Canvas Plus product

contains an element not recited in the patent claims, i.e., “a liquid barrier component,” the

Plaintiffs have contradicted the requirement of Claim 1 of the ‘917 patent that it be a closed

grouping.

        Like Bot M8, Plaintiffs have “essentially pleaded [themselves] out of court” by

acknowledging that the Stay Put™ Canvas Plus product has a liquid barrier component.



                                                    23

           Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 30 of 35
Changing the word “layer” from the Original Complaint, to “component” in the First Amended

Complaint does not save the Plaintiffs’ claim. If anything, it reinforces the point that Plaintiffs

understand the predicament they face. Because “consisting of” in the preamble of the claim

means that the claim “excludes any element . . . not specified in the claim,” the Stay Put™

Canvas Plus product, which has a liquid barrier layer (or component), cannot possibly, much less

plausibly, infringe Claim 1 of the ‘917 patent. The fact that Plaintiffs persist despite being

informed that the language “consisting of” dooms their patent infringement claim with respect to

the Stay Put™ Canvas Plus product underscores their bad faith pursuit of this claim. Thus, Count

IX should be dismissed, with prejudice, with respect to the Stay Put™ Canvas Plus product for

failure to state a claim upon which relief can be granted.

V.     TRIMACO IS ENTITLED TO A MORE DEFINITE STATEMENT FOR COUNT
       VIII BECAUSE PLAINTIFFS FAIL TO IDENTIFY WITH PARTICULARITY
       THE TRIMACO PRODUCTS ACCUSED OF INFRINGEMENT

       In its pleading, the Terracinos appear to accuse two set of products of infringement, the

“Stay Put [Canvas] and the Stay Put [Canvas] Plus drop cloth products.” (ECF 17 at 19, ¶ 112.)

As to the “Stay Put Canvas Plus,” as set forth above, Plaintiffs’ claim of infringement against

products with a liquid barrier layer (or now “component”) should be dismissed. As to the “Stay

Put Canvas” products, Trimaco requires a more definite statement.

       A motion for a more definite statement is proper where, as here, the claims are so “vague

or ambiguous that [a] party cannot reasonably prepare a response.” Fed. R. Civ. P. 12(e); see

also SV Int’l, Inc. v. Fu Jian Quanyu Indus. Co., 820 F. Supp. 2d 677, 693 (M.D.N.C. 2011). To

grant a motion for a more definite statement, “the pleading must be incomprehensible.” SV Int’l,

820 F. Supp. 2d at 693. In the context of a patent infringement claim, “a complaint may not

simply allege that products for sale [ ] infringe a particular patent.” Id. (quoting Agilent Techs.,



                                                  24

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 31 of 35
Inc. v. Micromuse, Inc., No. 04 Civ. 3090, 2004 WL 2346152, at *6 (S.D.N.Y. Oct. 19, 2004));

see also Bot M8, 4 F.4th at 1355 (“[M]ere recitation of claim elements and corresponding

conclusions, without supporting factual allegations, is insufficient to satisfy the Iqbal/Twombly

standard.”).

        Here, Trimaco “cannot reasonably prepare a response” to Plaintiffs’ patent infringement

claim under 35 U.S.C. § 271 because Plaintiffs fail to articulate which products they allege were

sold outside of the scope of the Agreement. Trimaco entered into a license for the ‘917 patent

and paid royalties for five years under it. While Trimaco believes that none of its products are

covered by the ‘917 patent, which is exceedingly narrow, should this Court find that a Trimaco

product is covered by the ‘917 patent, Trimaco has a strong defense in view of the existence of

the Agreement. See Intel Corp. v. Broadcom Corp., 173 F. Supp. 2d 201, 228 (D. Del. 2001) (“A

patent license is essentially a waiver of the patent owner’s right to sue; the parties agree that the

patent owner will allow the licensee either to make, to use, to sell (or some combination of, or

derivative of, these three rights) without subjecting the licensee to an infringement suit. It is thus

well settled that a valid license is a complete defense to infringement.”) (emphasis added).

        In short, for the Stay Put™ Canvas Plus products there can be no infringement. And,

even though they do not infringe the ‘917 patent, Trimaco still “honor[ed] the 2% royalty for 5

years” under the License, including for non-Stay Put™ Canvas Plus products. (ECF 17-2, §

3(A), ¶ 31.) Therefore, Trimaco is unable to understand the infringement allegations against it.4

The Plaintiffs should be required to state affirmatively which products it contends have infringed

and/or were unlicensed because Trimaco does not know.



4
 It should be noted that, although the Terracinos have appended an infringement opinion, nowhere does the opinion
name what product was examined. (ECF 17-7.) Nor are there photos from which one could discern what products
were investigated.

                                                       25

          Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 32 of 35
       In sum, Plaintiffs’ claim for patent infringement of the ‘917 patent is so “vague” and

“ambiguous” that Trimaco “cannot reasonably prepare a response.” Trimaco does not see how

the Terracinos can avoid the fact that (1) Trimaco’s current products with a third layer cannot

infringe; and (2) Trimaco’s past products have already been subject to royalty payments. Thus,

the Plaintiffs must provide a more definite statement with respect to Count IX, and, specifically,

they should be required to explain what sale of products the Defendants could possibly be called

to account for.

VI.    PLAINTIFFS’ CLAIMS SHOULD BE DISMISSED WITH PREJUDICE AND
       ATTORNEY FEES GRANTED

       In it well-established that a “court has the discretion to grant a motion to dismiss under

Rule 12(b)(6) with or without prejudice.” Ahern v. Omnicare ESC LLC, No. 5:08-CV-291-FL,

2009 WL 2591320, at *9 (E.D.N.C. Aug. 19, 2009). “Where . . . a plaintiff has been provided the

opportunity to amend and the amendments do not cure the defects, dismissal with prejudice may

be appropriate.” Id. In Ahern, the court dismissed the plaintiff’s amended complaint with

prejudice because despite having “the opportunity to amend her complaint and to do so after

having the benefit of defendant’s initial dismissal motion and supporting memoranda detailing

numerous deficiencies in it[,] [t]he amendments made by plaintiff were not sufficient . . . and the

deficiencies [did] not appear to be curable.” Id. Here, as in Ahern, the Plaintiffs have had ample

opportunity to redress the deficiencies of their Original Complaint. Even before the Defendants

filed their Original Motion to Dismiss, they informed the Plaintiffs that their claims were

deficient. Plaintiffs chose not to amend their Original Complaint, knowing about these

deficiencies. Then, once the Defendants filed the Original Motion to Dismiss, the Plaintiffs filed

their First Amended Complaint in which they made halfhearted attempts to address some of the




                                                26

         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 33 of 35
deficiencies and, with respect to other claims, made no changes at all. Given the clear posture of

the First Amended Complaint, there is no point in permitting any further amendments.

        In addition, given the Plaintiffs’ role in necessitating this New Motion to Dismiss, the

Defendants should be awarded attorneys’ fees in connection therewith. A district court

“possesses statutory and inherent power to fashion an appropriate sanction for conduct which

abuses the judicial process.” Johnson v. EEOC Charlotte Dist. Off., No. 315CV00148RJCDSC,

2016 WL 3514456, at *2 (W.D.N.C. June 27, 2016) (citing Chambers v. Nasco, Inc., 501 U.S.

32, 44–45 (1991)) (internal quotations omitted). A sanction “may consist of the outright

dismissal of a lawsuit and the assessment of attorney’s fees.” Id. Here, where Plaintiffs have

wasted the Defendants’ resources, they should be called to account.

VII.    CONCLUSION

        For all the reasons set forth in Trimaco’s New Motion to Dismiss and Motion for a More

Definite Statement, as detailed in this Brief, Trimaco submits that its Motions should be granted

in its entirety.

 Respectfully submitted this 9th day of May, 2022.

                                                   /s/ John M. Moye
                                                   John M. Moye (NC State Bar No. 35463)
                                                   BARNES & THORNBURG LLP
                                                   4280 Six Forks Road, Suite 1010
                                                   Raleigh, NC 27609-5738
                                                   Tel. (919) 536-6200
                                                   Email: JMoye@btlaw.com

                                                   BARNES & THORNBURG LLP
                                                   3475 Piedmont Road N.E., Suite 1700
                                                   Atlanta, Georgia 30305
                                                   Tel. (404) 264-4006

                                                   Counsel for Defendants Trimaco, Inc.,
                                                   Charles Cobaugh, and David May



                                                 27

          Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 34 of 35
                                 CERTIFICATE OF SERVICE

       This is to certify that on the 9th day of May, 2022, I electronically filed the foregoing

Memorandum of Law in Support of Motion to Dismiss First Amended Complaint and Motion for

More Definite Statement with the Clerk of Court using the CM/ECF system which will send

notification of such filing to the following counsel of record:

                                      Robert C. Van Arnam (N.C. Bar No. 28838)
                                      Andrew R. Shores (N.C. Bar No. 4600)
                                      WILLIAMS MULLEN
                                      P.O. Box 1000
                                      Raleigh, NC 27602-1000
                                      Telephone: (919) 981-4000
                                      Fax: (919) 981-4300
                                      rvanarnam@williamsmullen.com
                                      ashores@williamsmullen.com

                                      Of Counsel

                                      Duncan G. Byers, Esq.
                                      Va. Bar ID #48146
                                      PATTEN, WORNOM, HATTEN & DIAMONSTEIN
                                      12350 Jefferson Avenue, Suite 300
                                      Newport News, VA 23602
                                      Telephone: (757) 223-4500
                                      Fax: (757) 249-1627
                                      dbyers@pwhd.com

                                      Counsel for Plaintiffs

       This 9th day of May, 2022.
                                                         /s/ John M. Moye
                                                         John M. Moye (NC State Bar No. 35463)
                                                         BARNES & THORNBURG LLP
                                                         4280 Six Forks Road, Suite 1010
                                                         Raleigh, NC 27609-5738
                                                         Tel. (919) 536-6200
                                                         Email: JMoye@btlaw.com

                                                         Counsel for Defendants Trimaco, Inc.,
                                                         Charles Cobaugh, and David May




         Case 5:22-cv-00015-FL Document 20 Filed 05/09/22 Page 35 of 35
